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                    EXHIBIT 1
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 From:       Spector, Mike (Reuters)
 To:         Montagnino, Kimberly [VISUS]; Sargent, Jake [JJCUS]
 Cc:         Levine, Daniel R. (Reuters)
 Subject:    [EXTERNAL] Reuters seeking comment on talc-litigation story
 Date:       Wednesday, February 2, 2022 1:06:29 PM



 Hi Kim and Jake,

 Hope you’re both doing well.

 I am working with my colleague, Dan Levine, copied here, on a potential
 story about talc litigation against Johnson & Johnson. Our focus is on
 the company’s planning of the legal maneuver to place the liability from
 those cases into a new subsidiary that then filed for bankruptcy.

 We wanted to share our preliminary findings and ask a series of
 questions to ensure our story is fair and accurate. We ask that you
 respond by noon eastern time Monday, Feb. 7. Please also confirm
 receipt of this message.

 We would also like to request interviews with Chairman Alex Gorsky,
 CEO Joaquin Duato, General Counsel Michael Ullmann, J&J Assistant
 General Counsel Chris Andrew and/or LTL Chief Legal Officer John
 Kim. We would also like to speak with recently retired J&J Treasurer
 Michelle Ryan on the email exchanges she had with a Moody’s analyst
 that are further detailed below. Please let us know if and when one or
 more of these executives would be available to speak with us.

 Broadly speaking, we have learned that throughout the summer of
 2021, in public statements and in court, J&J repeatedly said it had not
 made any decisions regarding the talc litigation it faced except to
 continue defending the safety of talc in trial courts. The company also
 downplayed the prospect of executing the bankruptcy maneuver, known
 as a Texas two-step, with one lawyer representing J&J using the term
 “unsubstantiated rumors” to describe reports of the company’s planning
 and consideration of the strategy.

 During this period, the company also took to trial a case filed by Shawn
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 Johnson, who blamed his terminal mesothelioma on asbestos in J&J
 Baby Powder. A Los Angeles jury ultimately awarded Johnson $27
 million on October 12.

 Our reporting shows that, while these events were transpiring, top J&J
 executives urgently worked to develop the bankruptcy plan starting as
 early as April. Those efforts took on added exigency after the U.S.
 Supreme Court rejected J&J’s Ingham appeal in June. The new J&J
 subsidiary, LTL Management, was created on October 12, the same
 day as Johnson’s verdict. LTL filed for bankruptcy on October 14.

 Our reporting shows this could result in far lower compensation for
 plaintiffs, as a whole and in some individual cases. In Johnson’s case,
 his lawyers now believe he may only get a fraction of the jury award if
 the bankruptcy court signs off on the LTL reorganization. That’s
 because he would have to get in line with at least 38,000 other plaintiffs
 seeking compensation through an LTL administrative process to hand
 out a capped amount of money.

 Please let us know whether these broad findings are consistent with
 J&J’s understanding. We would welcome the company’s general
 comments on these events in addition to answers to our specific
 questions. If you believe any information we have is inaccurate, please
 let us know and tell us what is accurate.

 Our questions:

  1. J&J is facing about 38,000 lawsuits related to its talc products. At
     the time of the LTL bankruptcy filing, J&J paid about $3.5 billion in
     judgments and settlements, and about $1 billion in legal costs. To
     date, J&J has won 16 talc cases that went to trial. How many talc
     lawsuits has J&J settled, and what portion of the $3.5 billion do
     those settlements represent? How many trials has J&J lost, and
     what portion of the $3.5 billion do those adverse verdicts
     represent? Why is J&J proposing $2 billion, plus royalty streams
     valued at $350 million, to compensate all other plaintiffs in talc
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       suits? What is the company’s rationale for why that amount
       represents just compensation?
  2.   J&J received a presentation from Jones Day partner Greg Gordon
       and his team on a potential divisional merger and bankruptcy in
       April 2021. J&J lawyers Erik Haas, John Kim and Andrew White
       decided to hire the firm. The Jones Day team had previously
       helped other companies execute a divisional merger/bankruptcy,
       including Koch Industries’ Georgia Pacific. Why did J&J hire Jones
       Day? What role, if any, did Jones Day’s work for Koch’s Georgia
       Pacific play in J&J’s decision to hire the team?
  3.   Alex Gorsky convened the company’s board on May 17, 2021. J&J
       General Counsel Michael Ullman briefed directors on talc litigation
       and J&J’s appeal of the Missouri Ingham verdict to the U.S.
       Supreme Court. Were J&J directors briefed on the divisional
       merger/bankruptcy plan at this board meeting, or any other? If so,
       did any directors raise concerns about the plan? Was it ever
       authorized by J&J’s board? If not, who authorized the creation of
       LTL and its bankruptcy? And did board members generally support
       the plan?
  4.   Our reporting shows that in July, Jim Murdica, an outside attorney
       J&J charged with resolving talc litigation, told a plaintiffs’ lawyer
       during settlement discussions that the company intended to move
       forward with the subsidiary bankruptcy. Murdica said: “You guys
       will be fighting over scraps five years from now” in the bankruptcy.
       Had the company decided by July to move forward with this plan?
       If not, why did Murdica have that impression, and why was he
       conducting settlement negotiations with plaintiffs’ lawyers based on
       the understanding that the company would transfer all its liability to
       a bankrupt subsidiary?
  5.   On July 12, J&J attorney Chris Andrew sent a note to about 30-40
       people including personnel from finance, risk management, tax and
       business development. These people had been assigned to
       explore and plan the subsidiary bankruptcy. That note identified the
       bankruptcy project as “Project Plato” and informed team members
       that they could not inform anyone about the work, including
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     colleagues and family members, even spouses. Why did J&J
     pledge its team to secrecy? What advantage did the company gain
     by keeping the project confidential? Who named the work “Project
     Plato?” Why did they choose that name? Why didn’t J&J publicly
     acknowledge the project, in court and in public statements, instead
     of downplaying reports that it was considering the subsidiary
     bankruptcy and planning to carry it out?
  6. A week later, a day after Reuters revealed J&J’s consideration of a
     Texas two-step, corporate treasurer Michele Ryan emailed
     Moody’s senior VP Michael Levesque. Ryan outlined the
     bankruptcy plan and said it was a way of “capping our talc liability.”
     Ryan asked if such a move would impact J&J’s credit. Levesque
     replied that it likely would not. Why did Ryan reach out to Moody’s,
     and who asked her to do so? Would a potential negative hit to
     J&J’s credit have dissuaded the company from pursuing a
     subsidiary bankruptcy? How does J&J respond to critics who
     contend that a Texas two-step allows J&J to reap the benefit of a
     bankruptcy litigation shield without suffering the consequences of
     diminished credit that other companies and individuals filing
     bankruptcy usually face?
  7. At a July 23 pre-trial hearing in Northern California, King &
     Spalding lawyer Amy Zumsteg told a judge that the idea of a
     divisional merger/bankruptcy was “rumor” and that she had “no
     information to substantiate those rumors.” Why did Zumsteg make
     such a representation to a judge, in light of the concrete steps J&J
     had taken to prepare for such a bankruptcy? Was Zumsteg briefed
     about J&J’s plan at that point? Had she sought a briefing, and if so,
     what was J&J’s response?
  8. In August, plaintiffs’ lawyers asked the judge overseeing the Imerys
     bankruptcy case to preemptively block J&J from undertaking the
     Texas two-step. The judge declined, siding with J&J’s argument
     that she could not block the company from undertaking a
     restructuring it had not yet decided whether to pursue. This
     prompted Ryan to forward a news article about the ruling to Luc
     Freyne. “Looks like Plato can move forward if we want to,” Ryan
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     wrote. “Good news indeed,” Freyne responded. Does the company
     have any comment on this exchange? Was it a common view
     among J&J executives that moving forward with Project Plato was
     good news for the company?
  9. In an early morning email on October 11, a J&J lawyer sought
     approval of the bankruptcy plan “as soon as possible,” attaching a
     detailed memo outlining the purported benefits. After J&J’s
     consumer business freed itself from responsibility for talc lawsuits,
     a bankruptcy judge would approve the final amount of money for
     resolving all the litigation “without the waste and abuses
     experienced in the state court tort system,” the memo said. The
     plan would be consummated under a tight timeframe, and garner
     significant media scrutiny. “Appropriate messaging (internally and
     externally) will be required to avoid or mitigate misunderstandings
     about the nature of the restructuring and negative publicity,” the
     memo said. Who made the decision to move forward with the
     bankruptcy plan in response to this memo? Did Gorsky review this
     memo, express any guidance, or make any decisions in connection
     with it? Did any J&J directors review this memo, or make any
     decisions in connection with it? Did the J&J board take a vote on
     moving forward with the plan? Did any members oppose, and if so,
     which ones? What specifically was the memo characterizing as
     “waste and abuses” in the state court tort system? What “negative
     publicity” did the company anticipate and why?
 10. A group of J&J colleagues, which included several senior
     executives, quickly approved the bankruptcy plan. LTL held its first
     board meeting on October 14, and for about 90 minutes, directors
     and executives (all seconded J&J executives) received a
     presentation from Jones Day lawyers, now representing LTL, and
     LTL Chief Legal Officer John Kim, who until recently was a J&J
     product-liability lawyer. The newly-formed subsidiary faced
     “exorbitant” costs if the current talc litigation barrage continued,
     which included 12,000 lawsuits alone through the first nine-and-a-
     half months of 2021. Judgements, settlements and other legal
     costs already totaled nearly $5 billion. After a Jones Day review of
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     the bankruptcy option, Kim recommended the LTL board approve a
     bankruptcy filing. The board agreed. J&J disclosed the move that
     evening as one that would “equitably” resolve more than 38,000
     lawsuits. Robert Wuesthoff, LTL’s president, testified that the “real
     reason” for the bankruptcy was that the litigation put J&J’s
     consumer business in “financial distress.” Has LTL hired anyone
     who is not a J&J executive? Does it have any business purpose
     beyond shielding J&J from liability in talc cases and, if so, what?
     What is J&J’s response to critics of the bankruptcy plan who argue
     it is not equitable to plaintiffs and robs them of their ability to seek
     legal redress in court against J&J itself?
 11. During Shawn Johnson’s trial in Los Angeles Superior Court, J&J
     argued that his cancer could be attributed to family genetics, and
     that Johnson could not prove his family used Baby Powder.
     Johnson testified that he used Baby Powder during significant
     stretches throughout his life, first as a child, then for a time as
     deodorant during his teenage years and later on all seven of his
     children, including an adult son with disabilities who needed to be
     changed up to eight times a day. Is this consistent with J&J’s
     understanding?
 12. Johnson said the jury verdict, which included $25 million in punitive
     damages, made him feel as if there was some justice in the world.
     After learning of LTL’s bankruptcy filing, Johnson said he felt very
     angry because the company knowingly damaged people like him
     by selling Baby Powder that contained asbestos. Since Johnson’s
     verdict had not yet been entered as a certified judgment, he would
     now be an unsecured creditor in any LTL bankruptcy and likely
     receive pennies on the dollar. What is J&J’s response to Johnson’s
     comments?
 13. Several members of Congress have proposed legislation that
     would forbid most third-party releases in bankruptcy, and eliminate
     the Texas two-step as an option for companies. What is J&J's
     position on these efforts?

 Thanks for your attention and we look forward to your responses.
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 Best,
 Mike and Dan



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